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                          EXHIBIT A
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DEAN BLANCHAR
        B     RD SEAFOOD,                    *             CIVIL AC
                                                                  CTION No.. 2:13-CV-001978
INC.;
DEAN BLANCHAR
        B     RD; JODIE
                      E                      *             SECTION
                                                                 N: J
BLANCH   HARD
Plaintiffs
        fs                                   *             JUDGE B
                                                                 BARBIER

                                             *             MAG. JU
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       In
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                                                             D SEAFOOD
                                                                     D, INC.; DE
                                                                               EAN

BLANCH
     HARD, and JODIE BLA
                       ANCHARD
                             D, submit thee attached Sw
                                                      worn Statem
                                                                ments named

Exhibit A and supporrting docum
                              ments.


                                             Respectfullyy submitted,,



                                             ________________________________________
                                             SCOTT SU  UMMY (Texas Bar No. 119507500)
                                             ssummy@bbaronbudd.coom
                                             MITCHELL    L MCCREA  A (Texas Baar No. 24041435)
                                             mmccrea@bbaronbudd.ccom
                                             BARON & BUDD, P.C     C.
                                             3102 Oak L Lawn Ave., S
                                                                   Suite 1100
                                             Dallas, Texxas 75219
                                             Telephone: (214) 521-33605
                                             Facsimile: (214) 520-1181




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                   N BLANCHARD SEAFOOD, INC.,, DEAN BLANCH
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                                       COSSICH, SUMICH, PARISOLA & TAYLOR,
                                       LLC
                                       PHILIP F. COSSICH, JR. #1788 (T.A.)
                                       pcossich@cossichlaw.com
                                       DAVID A. PARSIOLA, #21005
                                       dparsiola@cossichlaw.com
                                       BRANDON J. TAYLOR, #27662
                                       Btaylor@cossichlaw.com
                                       8397 Highway 23, Suite 100
                                       Post Office Box 400
                                       Belle Chasse, Louisiana 70037
                                       Telephone (504) 394-9000
                                       Facsimile: (504) 394-9110




           DEAN BLANCHARD SEAFOOD, INC., DEAN BLANCHARD AND JODIE BLANCHARD
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                                         IN RE: OIL SPILL by “Deepwater Horizon”
                                                    DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                               SECTION: J                                                JUDGE CARL BARBIER
      CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
               IN MASTER COMPLAINTS – PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
    filed in MDL No. 2179 (10 md 2179).

    Last Name                                           First Name                                  Middle Name/Maiden                            Suffix
    Blanchard                                          Dean                                        Philip
    Phone Number                                                                    E-Mail Address
    214-521-3605
    Address                                                                         City / State / Zip
    P.O. Box 1                                                                     Grand Isle, LA 70358
    INDIVIDUAL CLAIM                                                                BUSINESS CLAIM                                ✔
    Employer Name                                                                   Business Name
                                                                                   Dean Blanchard Seafood, Inc.
    Job Title / Description                                                         Type of Business
                                                                                   Seafood supplier/distributor/processor
    Address                                                                         Address
                                                                                   P.O. Box 1
    City / State / Zip                                                              City / State / Zip
                                                                                   Grand Isle, LA 70358
    Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
                                                                                   6227
    Attorney Name                                                                   Firm Name
    Scott Summy                                                                    Baron & Budd, P.C.
    Address                                                                         City / State / Zip
    3102 Oak Lawn Ave., Suite 1100                                                 Dallas, TX 75219
    Phone Number                                                                    E-Mail Address
    (214) 521-3605                                                                 ssummy@baronbudd.com
    Claim filed with BP?                                                            Claim Filed with GCCF?:         YES                   NO
                                     YES                   NO
    If yes, BP Claim No.: unknown                                                   If yes, Claimant Identification No.:
                                                                                                                           unknown
    Claim Type (Please check all that apply):
    ✔       Damage or destruction to real or personal property                                 Fear of Future Injury and/or Medical Monitoring
    ✔       Earnings/Profit Loss                                                               Loss of Subsistence use of Natural Resources
            Personal Injury/Death                                                      ✔       Removal and/or clean-up costs
                                                                                               Other:




1
    This form should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana in Civil Action No. 10‐8888. While this Direct
Filing Short Form is to be filed in CA No. 10‐8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10‐2771 and Rec. Doc. 982 in MDL 2179), the filing of this form
in C.A. No. 10‐8888 shall be deemed to be simultaneously filed in C.A. 10‐2771 and MDL 2179. Plaintiff Liaison Counsel, after being notified electronically by the Clerk
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
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         The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1.   For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
     involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
     damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Claimant is claiming lost earnings due to the negative impact on the Claimant's industry caused by the Oil Spill.
The Oil Spill had a dramatic effect on the seafood industry and Claimant will continue to suffer the loss of
reputation of Gulf seafood for years to come. Claimant also owned wetlands/real property that was damaged by
the Oil Spill and incurred remediation costs as a result. Claimant files this Complaint seeking a full recovery of all
past and future losses, damages, and expenses related to the Oil Spill, punitive damages, the expenses incurred
to document its damages, and any and all other damages owed to Claimant under the Oil Pollution Act ("OPA"),
General Maritime Law, the Clean Water Act, and all other state and federal laws applicable to this matter.
Claimant reserves the right to supplement and/or amend its response, including the calculation of damages, as the
case develops.

In addition to Plaintiff’s other transmissions, claims and filings, Plaintiff, out of an abundance of caution, made
and/or re-made claim Presentment in accord with 33 USC §§ 2702(b) and 2713 by submitting a description of the
claim with a “sum certain” demand and with supporting documentation to BP as the “Responsible Party” under
OPA via certified mail and electronic transmission, on or about January 19, 2013. BP either denied Plaintiff’s
claims or otherwise failed to accept or respond within 90 days of Presentment. Plaintiff has thus satisfied the
mandatory condition precedent to file this civil action under OPA.
2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
     employers 2008 to present and complete authorization forms for each.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




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     The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
     ✔   1.    Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
               crabbing or oystering.
    ✔    2.    Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

         3.    Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
               fishing business who earn their living through the use of the Gulf of Mexico.
     ✔   4.    Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
               supply, real estate agents, and supply companies, or an employee thereof.

         5.    Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

         6.    Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

     ✔   7     Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
               lessees of oyster beds.

         8.    Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

         9.    Bank, financial institution, or retail business that suffered losses as a result of the spill.

         10.   Person who utilizes natural resources for subsistence.

         11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
         1.    Boat captain or crew involved in the Vessels of Opportunity program.

         2.    Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

         3.    Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
               odors and emissions during post-explosion clean-up activities.

         4.    Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

         5.    Resident who lives or works in close proximity to coastal waters.

         6.    Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature

Scott Summy
 Print Name

April 20, 2013
 Date




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    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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                                         IN RE: OIL SPILL by “Deepwater Horizon”
                                                    DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
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    Last Name                                           First Name                                  Middle Name/Maiden                            Suffix
    Blanchard                                          Dean                                        Philip
    Phone Number                                                                    E-Mail Address
    214-521-3605
    Address                                                                         City / State / Zip
    P.O. Box 1                                                                     Grand Isle, LA 70358
    INDIVIDUAL CLAIM                                                                BUSINESS CLAIM                                ✔
    Employer Name                                                                   Business Name
                                                                                   Dean Blanchard Seafood, Inc.
    Job Title / Description                                                         Type of Business
                                                                                   Seafood supplier/distributor/processor
    Address                                                                         Address
                                                                                   P.O. Box 1
    City / State / Zip                                                              City / State / Zip
                                                                                   Grand Isle, LA 70358
    Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
                                                                                   6227
    Attorney Name                                                                   Firm Name
    Scott Summy                                                                    Baron & Budd, P.C.
    Address                                                                         City / State / Zip
    3102 Oak Lawn Ave., Suite 1100                                                 Dallas, TX 75219
    Phone Number                                                                    E-Mail Address
    (214) 521-3605                                                                 ssummy@baronbudd.com
    Claim filed with BP?                                                            Claim Filed with GCCF?:         YES                   NO
                                     YES                   NO
    If yes, BP Claim No.: unknown                                                   If yes, Claimant Identification No.:
                                                                                                                           unknown
    Claim Type (Please check all that apply):
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            Personal Injury/Death                                                      ✔       Removal and/or clean-up costs
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Brief Description:

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as a result. Claimant files this Complaint seeking a full recovery of all past and future losses,
damages, and expenses related to the Oil Spill, punitive damages, the expenses incurred to
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Pollution Act ("OPA"), General Maritime Law, the Clean Water Act, and all other state and
federal laws applicable to this matter. Claimant reserves the right to supplement and/or amend
its response, including the calculation of damages, as the case develops.

In addition to Plaintiff’s other transmissions, claims and filings, Plaintiff, out of an abundance of
caution, made and/or re-made claim Presentment in accord with 33 USC §§ 2702(b) and 2713
2.
by For personal injury
    submitting         claims, describe
                 a description          the claim
                                   of the   injury, how
                                                     withand when itcertain”
                                                           a “sum    was sustained,
                                                                              demandand identify all health
                                                                                          and with          care providers and
                                                                                                       supporting
    employers 2008 to present and complete authorization forms for each.
documentation to BP as the “Responsible Party” under OPA via certified mail and electronic
transmission, on or about January 19, 2013. BP either denied Plaintiff’s claims or otherwise
failed to accept or respond within 90 days of Presentment. Plaintiff has thus satisfied the
mandatory condition precedent to file this civil action under OPA.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
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Please check the box(es) below that you think apply to you and your claims:
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     ✔   1.    Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
               crabbing or oystering.
    ✔    2.    Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

         3.    Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
               fishing business who earn their living through the use of the Gulf of Mexico.
     ✔   4.    Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
               supply, real estate agents, and supply companies, or an employee thereof.

         5.    Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

         6.    Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

     ✔   7     Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
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         8.    Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

         9.    Bank, financial institution, or retail business that suffered losses as a result of the spill.

         10.   Person who utilizes natural resources for subsistence.

         11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
         1.    Boat captain or crew involved in the Vessels of Opportunity program.

         2.    Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

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         4.    Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

         5.    Resident who lives or works in close proximity to coastal waters.

         6.    Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
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Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature

Scott Summy
 Print Name

April 20, 2013
 Date




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    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                               SECTION: J                                                JUDGE CARL BARBIER
      CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
               IN MASTER COMPLAINTS – PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
    filed in MDL No. 2179 (10 md 2179).

    Last Name                                           First Name                                  Middle Name/Maiden                            Suffix
    Blanchard                                          Dean                                        Philip
    Phone Number                                                                    E-Mail Address
    214-521-3605
    Address                                                                         City / State / Zip
    P.O. Box 1                                                                     Grand Isle, LA 70358
    INDIVIDUAL CLAIM                                                                BUSINESS CLAIM                                ✔
    Employer Name                                                                   Business Name
                                                                                   Dean Blanchard Seafood, Inc.
    Job Title / Description                                                         Type of Business
                                                                                   Seafood supplier/distributor/processor
    Address                                                                         Address
                                                                                   P.O. Box 1
    City / State / Zip                                                              City / State / Zip
                                                                                   Grand Isle, LA 70358
    Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
                                                                                   6227
    Attorney Name                                                                   Firm Name
    Scott Summy                                                                    Baron & Budd, P.C.
    Address                                                                         City / State / Zip
    3102 Oak Lawn Ave., Suite 1100                                                 Dallas, TX 75219
    Phone Number                                                                    E-Mail Address
    (214) 521-3605                                                                 ssummy@baronbudd.com
    Claim filed with BP?                                                            Claim Filed with GCCF?:         YES                   NO
                                     YES                   NO
    If yes, BP Claim No.: unknown                                                   If yes, Claimant Identification No.:
                                                                                                                           unknown
    Claim Type (Please check all that apply):
    ✔       Damage or destruction to real or personal property                                 Fear of Future Injury and/or Medical Monitoring
    ✔       Earnings/Profit Loss                                                               Loss of Subsistence use of Natural Resources
            Personal Injury/Death                                                      ✔       Removal and/or clean-up costs
                                                                                               Other:




1
    This form should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana in Civil Action No. 10‐8888. While this Direct
Filing Short Form is to be filed in CA No. 10‐8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10‐2771 and Rec. Doc. 982 in MDL 2179), the filing of this form
in C.A. No. 10‐8888 shall be deemed to be simultaneously filed in C.A. 10‐2771 and MDL 2179. Plaintiff Liaison Counsel, after being notified electronically by the Clerk
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
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         The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1.   For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
     involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
     damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Claimant is claiming lost earnings due to the negative impact on the Claimant's industry caused by the Oil Spill.
The Oil Spill had a dramatic effect on the seafood industry and Claimant will continue to suffer the loss of
reputation of Gulf seafood for years to come. Claimant also owned wetlands/real property that was damaged by
the Oil Spill and incurred remediation costs as a result. Claimant files this Complaint seeking a full recovery of all
past and future losses, damages, and expenses related to the Oil Spill, punitive damages, the expenses incurred
to document its damages, and any and all other damages owed to Claimant under the Oil Pollution Act ("OPA"),
General Maritime Law, the Clean Water Act, and all other state and federal laws applicable to this matter.
Claimant reserves the right to supplement and/or amend its response, including the calculation of damages, as the
case develops.

In addition to Plaintiff’s other transmissions, claims and filings, Plaintiff, out of an abundance of caution, made
and/or re-made claim Presentment in accord with 33 USC §§ 2702(b) and 2713 by submitting a description of the
claim with a “sum certain” demand and with supporting documentation to BP as the “Responsible Party” under
OPA via certified mail and electronic transmission, on or about January 19, 2013. BP either denied Plaintiff’s
claims or otherwise failed to accept or respond within 90 days of Presentment. Plaintiff has thus satisfied the
mandatory condition precedent to file this civil action under OPA.
2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
     employers 2008 to present and complete authorization forms for each.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




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     The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
     ✔   1.    Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
               crabbing or oystering.
    ✔    2.    Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

         3.    Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
               fishing business who earn their living through the use of the Gulf of Mexico.
     ✔   4.    Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
               supply, real estate agents, and supply companies, or an employee thereof.

         5.    Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

         6.    Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

     ✔   7     Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
               lessees of oyster beds.

         8.    Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

         9.    Bank, financial institution, or retail business that suffered losses as a result of the spill.

         10.   Person who utilizes natural resources for subsistence.

         11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
         1.    Boat captain or crew involved in the Vessels of Opportunity program.

         2.    Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

         3.    Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
               odors and emissions during post-explosion clean-up activities.

         4.    Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

         5.    Resident who lives or works in close proximity to coastal waters.

         6.    Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature

Scott Summy
 Print Name

April 20, 2013
 Date




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    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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                                         IN RE: OIL SPILL by “Deepwater Horizon”
                                                    DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                               SECTION: J                                                JUDGE CARL BARBIER
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    al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
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    Last Name                                           First Name                                  Middle Name/Maiden                            Suffix
    Blanchard                                          Dean                                        Philip
    Phone Number                                                                    E-Mail Address
    214-521-3605
    Address                                                                         City / State / Zip
    P.O. Box 1                                                                     Grand Isle, LA 70358
    INDIVIDUAL CLAIM                                                                BUSINESS CLAIM                                ✔
    Employer Name                                                                   Business Name
                                                                                   Dean Blanchard Seafood, Inc.
    Job Title / Description                                                         Type of Business
                                                                                   Seafood supplier/distributor/processor
    Address                                                                         Address
                                                                                   P.O. Box 1
    City / State / Zip                                                              City / State / Zip
                                                                                   Grand Isle, LA 70358
    Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
                                                                                   6227
    Attorney Name                                                                   Firm Name
    Scott Summy                                                                    Baron & Budd, P.C.
    Address                                                                         City / State / Zip
    3102 Oak Lawn Ave., Suite 1100                                                 Dallas, TX 75219
    Phone Number                                                                    E-Mail Address
    (214) 521-3605                                                                 ssummy@baronbudd.com
    Claim filed with BP?                                                            Claim Filed with GCCF?:         YES                   NO
                                     YES                   NO
    If yes, BP Claim No.: unknown                                                   If yes, Claimant Identification No.:
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    ✔       Earnings/Profit Loss                                                               Loss of Subsistence use of Natural Resources
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                                                                                               Other:




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Brief Description:

1.   For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
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past and future losses, damages, and expenses related to the Oil Spill, punitive damages, the expenses incurred
to document its damages, and any and all other damages owed to Claimant under the Oil Pollution Act ("OPA"),
General Maritime Law, the Clean Water Act, and all other state and federal laws applicable to this matter.
Claimant reserves the right to supplement and/or amend its response, including the calculation of damages, as the
case develops.

In addition to Plaintiff’s other transmissions, claims and filings, Plaintiff, out of an abundance of caution, made
and/or re-made claim Presentment in accord with 33 USC §§ 2702(b) and 2713 by submitting a description of the
claim with a “sum certain” demand and with supporting documentation to BP as the “Responsible Party” under
OPA via certified mail and electronic transmission, on or about January 19, 2013. BP either denied Plaintiff’s
claims or otherwise failed to accept or respond within 90 days of Presentment. Plaintiff has thus satisfied the
mandatory condition precedent to file this civil action under OPA.
2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
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3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




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     The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
     ✔   1.    Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
               crabbing or oystering.
    ✔    2.    Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

         3.    Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
               fishing business who earn their living through the use of the Gulf of Mexico.
     ✔   4.    Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
               supply, real estate agents, and supply companies, or an employee thereof.

         5.    Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

         6.    Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

     ✔   7     Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
               lessees of oyster beds.

         8.    Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

         9.    Bank, financial institution, or retail business that suffered losses as a result of the spill.

         10.   Person who utilizes natural resources for subsistence.

         11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
         1.    Boat captain or crew involved in the Vessels of Opportunity program.

         2.    Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

         3.    Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
               odors and emissions during post-explosion clean-up activities.

         4.    Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

         5.    Resident who lives or works in close proximity to coastal waters.

         6.    Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature

Scott Summy
 Print Name

April 20, 2013
 Date




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    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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          I hereby ceertify that thee above and foregoing ddocument hass been serveed on All Counsel

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United States for the Eastern Disstrict of Louiisiana by usiing the CM/E
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the 16th day
         d of May, 2016.



                                              Respectfullyy submitted,,


                                              BARON & BUDD, P.C
                                                              C.



                                          BY
                                           Y:____________________________
                                             SCOTT SU  UMMY (Texas Bar No. 119507500)
                                             ssummy@bbaronbudd.coom
                                             MITCHELL    L MCCREA A (Texas Baar No. 24041435)
                                             mmccrea@bbaronbudd.ccom
                                             3102 Oak L Lawn Avenuue, Suite 1100
                                             Dallas, Texxas 75219
                                             Telephone: (214) 521-33605
                                             Facsimile: (214) 520-11181
